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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT O F FLORIDA
                                  M IAM IDIVISION
                     CASE NO .18-24591-CIV-GM H AM /M CALlLEY


 BARRY COHEN

                              Plaintiff,



 GO O GLE,LLC

                              D efendant.
                                            /

                        ORDER GM NTING M O TION TO APPEAR
           PRO HAC FX EbCONSENT TO DESIGNATION AND REQUEST TO
              ELE CTR O N IC AL LY R ECEIV E N O TIC ES O F E LEC TR O NIC
                                       FILIN G

        TH IS CA U SE having com e before the Court on the M otion to Appear Pro H ac Vice

 for D avid Berlin, Esquire, Gary Schafkopf, Esquire, and Brian M ildenberg, Esquire,

 Consent to Designation,and Request to Electronically Receive N otices of Electronic Filing,

 (D.E. 81, filed January 28, 2019, pursuant to the Rules Governing the Admission,
 Practice, Peer Review, and Discipline of Attorneys in the United States DistrictCourtfor

 the Southem D istrict of Florida and Section 28 of the CM /ECF A dm inistrative Procedures.

 This Courthaving considered the m otion and a11 other relevant factors,itishereby

        O RD ERE D A N D A D JUD G ED that:

       The M otion is G R AN T ED . D avid Berlin,Esquire,G ary Schatkopf,Esquire,and Brian

M ildenberg, Esquire, m ay appear and participate in this action on behalf ofPlaintiff, Barry

Cohen. The Clerk shallprovide electronic notification of allelectronic filings to,D avid Berlin,
Case 1:18-cv-24591-DLG Document 9 Entered on FLSD Docket 01/30/2019 Page 2 of 2


Esquire at emailaddress:dberlinjtweisberglawv
                                 -          oflsces.coln,Gary Schatkopf atemailaddress'
                                                                                      .
garylf/schatlaw.com ,and Brian M ildenberg atemailaddress'
                                                         .brian@
                                                               .,m ildenberglaw .com .

        DONE AND ORDERED in ChambersatM imni,Florida,this             2 7 jday ofJ
                                                                           .
                                                                                         ,

2019.


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                                                     DONAL: L GRAHA
                                                    U N ITED STA TES D ISTRICT JUD G E

Copiesftunished to:
A l1CounselofRecord
